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   EXHIBIT 1
       Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 2 of 38
                                                                       CT Corporation
                                                        Service of Process Notification
                                                                                                                  07/29/2022
                                                                                                     CT Log Number 542019564


Service of Process Transmittal Summary

TO:       Legal Sop
          Best Buy Enterprise Services, Inc.
          7601 PENN AVE S
          RICHFIELD, MN 55423-3683

RE:       Process Served in California

FOR:      Best Buy (Cross Ref Name) (Domestic State: VA)
          Best Buy Stores, L.P. (True Name)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                         ALEE KARIM, on behalf of himself and all others similarly situated, vs. BEST BUY

DOCUMENT(S) SERVED:                      Summons, Complaint, Attachment(s), Certificate, Declaration

COURT/AGENCY:                            Alameda County Superior Court, CA
                                         Case # 22CV014203
NATURE OF ACTION:                        Claims to have been charged for an auto-renewing subscription.

PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

DATE/METHOD OF SERVICE:                  By Process Server on 07/29/2022 at 01:49

JURISDICTION SERVED:                     California

APPEARANCE OR ANSWER DUE:                Within 30 days after service (Document(s) may contain additional answer dates)

ATTORNEY(S)/SENDER(S):                   Alan R. Plutzik
                                         Bramson, Plutzik, Mahler & Birkhaeuser
                                         2125 Oak Grove Rd., #125
                                         Walnut Creek, CA 94598
                                         925-945-0200
ACTION ITEMS:                            CT has retained the current log, Retain Date: 07/30/2022, Expected Purge Date:
                                         08/04/2022

                                         Image SOP
                                         Email Notification, Legal Sop ctlegalsop@bestbuy.com

REGISTERED AGENT CONTACT:                C T Corporation System
                                         330 N BRAND BLVD
                                         STE 700
                                         GLENDALE, CA 91203
                                         877-564-7529
                                         MajorAccountTeam2@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the




                                                                                                                       Page 1 of 2
      Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 3 of 38
                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                                  07/29/2022
                                                                                                     CT Log Number 542019564

included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                       Page 2 of 2
                 Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 4 of 38



                                                                       Wolters Kluwer

                               PROCESS SERVER DELIVERY DETAILS




Date:                                             Fri, Jul 29, 2022
Server Name:                                      Jimmy Lizama




 Entity Served                   BEST BUY, INC.

 Case Number                     22CV014203

 J urisdiction                   CA



                                                  Inserts
                          Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 5 of 38

                                                                                                                                                   SUM-100

                                         SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                        (SOLO PARA USO DE LA CORTE)
                                     (CiTACION JUDICIAL)
NOTICE TO DEFENDANT:                                                                                              ELECTRONICALLY FILED
(AVISO AL DEMANDADO):                                                                                                Superior Court of California
                                                                                                                        County of Alameda
 BEST BUY CO., INC.,                                                                                                          07/26/2022
                                                                                                                 Ctmcl Finka.,Exawiretafiteg Cf6tir Of Me Cowl
YOU ARE BEING SUED BY PLAINTIFF:                                                                                                 A, Gospel            EVacely

(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                               asc

 ALEE KARIM, on behalf of himself and all others similarly situated,

  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 iAVISO!Lo han demandado. Si no responde dentro de 30 dlas, la code puede decidir en su contra sin escuchar su version. Lea la informaciOn a
 continuaciOn.
    Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legates para presentar una respuesta por escrito en esta
 carte y hacer que se entregue una copia al demandante. Una carta o una Hamada telefanica no lo protegen. Su respuesta por escrito tiene que estar
 en format() legal correcto si desea que procesen su caso en la carte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la carte y mas inforrnacido en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de byes de su condado o en la carte que le quede mas cerca. Si no puede pager la cuota de presentacion, pida al secretario de la carte que
 le dO un formulario de exencian de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le podra
 guitar su sue/do, dinero y bienes sin mas advertencia.
    Hay otros requisitos legates. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
 remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
 programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose on contacto can la code o el
colegio de abogados locales. AVISO:Parley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sabre
cualquier recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje on un caso de derecho civil. Tiene que
pagar el gravamen de Is code antes de que la code pueda desechar el caso.
 The name and address of the court is:                                                                  CASE NUMBER:(Aligner° del Caso):
(El nombre,v direcciOn de la.corte
 Alameaa uounty uperior uourt, zz5 Fallon Street, Oakland, CA 94612                                     22CV014203


 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcciOn y el numero
 de telofono del abogado del demandante, o del demandante que no tiene abogado, es):
 Alan R. Plutzik, Bramson, Plutzik, Mahler & Birkhaeuser, 2125 Oak Grove Rd., #125, Walnut Creek, CA 94598 - 925-945-0200
 DATE:                                                                       Clerk, by                                                             , Deputy
(Fecha)
        011110J2022 Chad Finke, Executive Officer/ Clerk ofthe Court
                                                                             (Secretario)  A. Gospel                                              (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatiOn use el formulario Proof of Service of Summons,(POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                           1.   FT as an individual defendant.
                                          2.         as the person sued under the fictitious name of (specify):

                                          3.    X    on behalf of (specify): Best   Buy, Inc.
                                                under:   k   CCP 416.10 (corporation)                             CCP 416.60 (minor)
                                                             CCP 416.20 (defunct corporation)                     CCP 416.70 (conservatee)
                                                            CCP 416.40 (association or partnership)               CCP 416.90 (authorized person)
                                                            other (specify):
                                          4.         by personal delivery on (date):
                                                                                                                                                      Page 1 of 1
Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20,465
Judicial Council of California
                                                                       SUMMONS
                                                                                                                                                 www.courts.ca.gov
5UM-100 (Rev. July 1,20091

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                                                                                    i I Save this form
        Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 6 of 38




 1   BRAMSON,PLUTZIK,MAHLER & BIRICHAEUSER,LLP
     Alan R. Plutzik (State Bar No. 77785)
 2
     aplutzikbramsonplutzik.corn
     2125 Oak Grove Road, Suite 125
                                                            ELECTRONICALLY FILED
 3
     Walnut Creek, California 94598                          Superior Court of California,
4    Telephone:(925)945-0200                                     County of Alameda
     Facsimile:(925)945-8792
 5                                                          07/12/2022 at 11:25:16 AM
                                                                    By: Man-xii Bowie,
     WITTELS MCINTURFF PALIKOVIC                                      Deputy Clerk
6
     J. Burkett McInturff*
 7   jbm@wittelslaw.com
     18 Half Mile Road
 8   Armonk, New York 10504
     Telephone:(914)319-9945
9    Facsimile:(914)273-2563
10
     * Motionfor pro hac vice admissionforthcoming
11
     [NAMES AND ADDRESSES OF ADDITIONAL
12   COUNSEL APPEAR ON SIGNATUkE PAGE]

13

14
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
15
                                       COUNTY OF ALAMEDA
16

17                                                   Case No. 220\1014203
     ALEE KARIM,on behalf of himself and all
18   others similarly situated,
                                                      CLASS ACTION COMPLAINT
19
                                 Plaintiff,
20
                                                      JURY TRIAL DEMANDED
                            V.
21

22   BEST BUY CO.,INC.,

23                               Defendant.

24

25

26

27

28


     CLASS ACTION COMPLAINT
        Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 7 of 38




 1          Plaintiff Alee Karim ("Plaintiff'), by his undersigned attorneys, Bramson, Plutzik, Mahler &
 2   Birkhaeuser, LLP, and Wittels McInturff Palikovic, brings this consumer protection action in his
 3
     individual capacity and on behalf of a class of consumers defined below against Defendant Best Buy
4
     Co., Inc., ("Best Buy"), and hereby alleges the following, with knowledge as to his own acts and
 5
     upon information and belief as to all other acts:
6

 7
                                              INTRODUCTION
 8
             1.     Best Buy is one ofthe nation's top consumer electronics retailers, with more than $49
9
     billion in sales in 2020.1 Once known for its big box stores,2 in recent years Best Buy has increasingly
10
     relied on online sales to drive revenue, with online sales accounting for 43.1% of its total revenue in
11

12   the United States in fiscal year 2021, up from just 15.5% in 2018.3

13          2.      Best Buy has sought to maximize its online revenue by aggressively and sometimes

14   deceptively marketing internet security protection plans and other auto-renewing subscriptions to all
15
     customers regardless whether the customer expressed any interest in such services or any desire to
16
     purchase them. Best Buy has described these service offerings as "FREE," without disclosing that
17
     the service will automatically convert into a paid, auto-renewing subscription at a later date unless
18

19   the consumer cancels or takes other affirmative action, and without sending an email or other

20   communication, before the auto-renewal of the service is imposed, to alert consumers that they are

21   about to be charged for such renewal. Additionally, Best Buy has made it difficult for consumers to
22   cancel the unwanted subscriptions and the accompanying unauthorized charges.
23

24   1 Sales ofthe leading 13 consumer electronics retailers in North America from 2010 to 2020,
     Statisa.com, available at https://www.statista.com/statistics/642322/leading-consumer-electronics-
25   retailers-of-the-us/ (last visited July 1, 2022).
     2 Total number of Best Buy stores worldwide from 2010 to 2021, Statista.com, available at
26   https://www.statista.com/statistics/249585/total-number-of-best-buy-stores-worldwide/(July 1,
     2022).
27   3 Best Buy's online revenue as share of total revenue in the United States from FY 2018 to FY
     2021*, Statista.com, available at https://www.statista.com/statistics/1124191/online-revenue-share-
28   total-revenue-best-buy/(July 1, 2022).

     CLASS ACTION COMPLAINT
         Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 8 of 38




 I       ,   3.     Best Buy is well aware that its consumers are often surprised by unauthorized charges
 2
     appearing on their payment method statements or accounts. Best Buy offers a customer service help
 3
     page on its website on the topic of"Statement Charges," aimed at consumers who have "discovered
4
     a charge on your statement that you don't recognize[,]" including for internet security software
 5
     subscriptions, and are trying to decipher what that charge is.4 Since at least 2016, Best Buy's social
 6

 7   media specialists have also included information on surprise charges "discovered" by consumers in

 8   a Customer Service Knowledge Base article on Best Buy's customer forums.5

9            4.     Indeed, Best Buy readily acknowledges that "[g]etting an unexpected charge on your
10
     bank account can be disconcerting, especially if it's for something you didn't want to sign up for, or
11
     have renew."6 Yet Best Buy has made this unnerving experience part of its e-commerce business
12
     model, trapping consumers into unintended purchases of paid interne security subscriptions and
13
     other auto-renewing subscriptions.
14

15           5.     Only through a class action can Best Buy's customers remedy this wrongdoing.

16   Because the monetary damages suffered by each customer are small compared to the much higher
17   cost a single customer would incur in trying to challenge Best Buy's unlawful practices, it makes no
18
     financial sense for an individual customer to bring his or her own lawsuit. Furthermore, many
19
     customers do not realize they are victims ofBest Buy's deceptive conduct and continue to be charged
20
     to this day. With this class action, Plaintiff and the Class seek redress for Best Buy's unfair business
21

22   practices, including the recovery of the charges Best Buy has imposed on Plaintiff and the Class

23   contrary to law.

24
     4 Statement Charges, BestBuy.com, available at https://www.bestbuy.com/site/help-topics/geek-
25   squad-charges/pcmcat372900050006.c?id=pcmcat372900050006 (last visited July 1, 2022).
     5 Customer Service Knowledge Base: What is this Charge on my Statement?, BestBuy.com,
26   available   at    https://forums.bestbuy.com/t5/Customer-Service-Knowledge-Base/What-is-this-
     Charge-on-my-Statement/ta-p/954656 (last visited July 1, 2022).
27   6 Need Help with a Cancel or Renewal of a Subscription Service?, BestBuy.com, available at
     https://forums.bestbuy.com/t5/0ther-Customer-Service-Support/Need-Help-with-a-Cancel-or-
28   Renewal-of-a-Subscription-Service/m-p/1377205/highlight/true#M58742(last visited July 1, 2022).


     CLASS ACTION COMPLAINT                                                                       2
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 1                                    JURISDICTION AND VENUE
 2          6.      This Court has personal jurisdiction over Best Buy because it conducts substantial
 3
     business in Alameda County, has sufficient minimum contacts with this state, and otherwise
4
     purposely avails itself ofthe privileges ofconducting business in California by marketing and selling
 5
     products and services in California, and the injuries to California consumers that Plaintiff seeks to
 6

 7   prevent through public injunctive relief arise directly from Best Buy's continuing conduct in

 8   California, including, but not limited to, directing its auto-enrollment and renewal practices at

 9   California consumers.
10          7.      Venue is proper in this Court pursuant to Code of Civil Procedure § 395 because Best
11
     Buy transacts business and receives significant payments from consumers in the County of Alameda,
12
     and a substantial part ofthe events or omissions giving rise to the claims occurred in this venue.
13
                                                  PARTIES
14

15          8.      Plaintiff Alee Karim is a natural person and a resident of Oakland, California, in the

16   County of Alameda. Best Buy enrolled him in a free 3-month subscription to Trend Micro internet

17   security software at or around the time of his purchase of a television from Best Buy's website in
18
     February 2020 and began charging him for an auto-renewing monthly subscription to that software
19
     in May 2020.
20
            9.      Plaintiff is a consumer who was victimized by Best Buy's auto-enrollment scheme,
21
     suffered injury in fact and lost money because of Best Buy's violations of California's consumer
22

23   protection statutes and thus has standing to pursue public injunctive and other relief to protect

24   California consumers from Best Buy's continuing violations.

25          10.     Defendant Best Buy Co.,Inc. is a consumer electronics retailer whose headquarters
26
     is located at 7601 Penn Avenue South, Richfield, Minnesota. Best Buy does business throughout
27
     California, including in Alameda County.
28


     CLASS ACTION COMPLAINT                                                                     3
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 1                                     FACTUAL ALLEGATIONS
2                   A. Plaintiff Karim Purchases a Television and Receives Two Mysterious Emails
 3
            1 1.    On or around February 21, 2020, Plaintiff Alee Karim visited Best Buy's website
4
     bestbuy.com to purchase a television.
 5
            12.     Mr. Karim chose a television, added it to his online shopping cart on bestbuy.com,
6

 7   and began Best Buy's checkout process.

8            13.    Mr. Karim completed the Best Buy checkout process and authorized Defendant to

9    charge $388.35 to his PayPal account for the television.
10           14.    Mr. Karim expected and intended his purchase of the television to be a one-time
11
     transaction and at no point during this transaction did Mr. Karim expect or intend to enter an ongoing
12
     billing relationship with Best Buy.
13
             15.    Three days later, on February 24, 2020 at approximately 12:18 p.m. PST, Best Buy
14

15   sent Mr. Karim an email with the nondescript subject line "We've received your order #BBY01-

16   805692797405." The email purported to provided "a summary of[his] purchase," thanked him "for

17   shopping at Best Buy®," and advised that the Customer Care Team "appreciate[d]" Mr. Karim's
18
     business and "look[ed] forward to seeing [him] soon." A copy of the 12:18 p.m. email is attached
19
     hereto as Exhibit 1.
20
             16.    Under a section entitled "Services & Digital Downloads," the 12:18 p.m. email listed
21
     two items: "Best Buy — Total Tech Support Monthly Membership" and "Trend Micro Internet
22

23   Security + Antivirus TTS."

24           17.    At no point on or prior to February 24,2020 did Mr. Karim knowingly take any action

25   to purchase either "Best Buy — Total Tech Support Monthly Membership" or "Trend Micro Internet
26
     Security + Antivirus TTS" nor did Mr. Karim knowingly give his affirmative consent to purchase
27
     any product or service that would automatically renew.
28


     CLASS ACTION COMPLAINT                                                                     4
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 I          18.     Best Buy later charged Mr. Karim $2.99 on a recurring, monthly basis for the "Trend
 2   Micro" software.
 3
            19.     Under its own terms, which referred to a "purchase" and "order" that Mr. Karim had
4
     supposedly already made, the 12:18 p.m. email could not fulfill Best Buy's obligations under
 5
     California's Automatic Renewal Law, Bus. & PROF. CODE § 17602(a)(1), which required Best Buy
 6

 7   to present the automatic renewal offer terms in a clear and conspicuous manner before the

 8   subscription or purchasing agreement is fulfilled. In any event, this email failed to present those

 9   offer terms in a clear and conspicuous manner because, among other defects, the language is
10
     presented in black, unbolded, unitalicized, and non-underlined text of the same font, size, and color
11
     as nearby text. See id. § 17601(c).
12
            20.     Later in the 12:18 p.m. email, under the heading "Total Tech Support," Best Buy
13
     wrote "Your Total Tech Support plan with Internet Security software automatically renews each
14

15   month" and "Your credit card will be charged $19.99 (or the then-current price) plus tax on your

16   monthly renewal date unless you cancel before then. Cancel anytime by calling 1-888-BEST BUY."
17          21.     These purported disclosures do not meet the additional requirements that California's
18
     Automatic Renewal Law places on business after purchase of an automatically renewing product or
19
     service.
20
            22.     First, it is not clear to a reasonable consumer like Mr. Karim that this section labelled
21

22   "Total Tech Support" applies to the "Trend Micro" program listed separately from "Total Tech

23   Support" earlier in the email. Thus,the 12:18 email is not"an acknowledgement" within the meaning

24   of Bus. & PROF. CODE §§ 17602(a)(3) and 17601(b) with respect to Trend Micro because the
25   purported disclosures contained within the email refer to Total Tech Support, a different product or
26
     service than the Trend Micro program for which Mr. Karim was later charged.
27

28


     CLASS ACTION COMPLAINT                                                                       5
        Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 12 of 38




 1          23.      Second,to the extent that any purported disclosures within the 12:18 p.m. email could
 2   be said to reasonably apply to the Trend Micro program,they nonetheless violate California's ARL.
 3
     Specifically, the "acknowledgment" required under Bus. & PROF. CODE § 17602(a)(3) must
4
     "include[] the automatic renewal offer terms" which consists of five enumerated "clear and
 5
     conspicuous disclosures," id. § 17601(b). The 12:18 p.m. email failed to meet these standards in at
 6

 7   least the following ways:

 8                a. None of the purported disclosures contained in the 12:18 p.m. are clear and
                     conspicuous, because they are not in larger type than the surrounding text, or in
 9                   contrasting type, font, or color to the surrounding text ofthe same size, or set offfrom
                     the surrounding text of the same size by symbols or other marks, in a manner that
10
                     clearly calls attention to the language.
11
                  b. The purported disclosures do not meet all five criteria that make up "automatic
12                   renewal offer terms" as defined by statute, Bus. & PROF. CODE § 17601(b). For
                     example, the 12:18 p.m. email does not state that Mr. Karim would be charged $2.99
13                   for Trend Micro, in violation of Bus.& PROF. CODE § 17601(b)(3).
14
                  c. Though sent in February 2020, the 12:18 p.m. email did not disclose that Best Buy
15                   would not begin charging Mr. Karim for the Trend Micro program until May 2020,
                     and thus fails to meet the requirement in Bus. & PROF. CODE § 17602(a)(3) that the
16                   acknowledgment disclose how Mr. Karim could cancel prior to paying for Trend
                     Micro.
17
            24.      Third, because Mr. Karim believes any purported acceptance of an offer to subscribe
18

19   to this service (if at all, which he denies) occurred as part of his online purchase of a television set,

20   Best Buy was obligated to provide an exclusively online method for cancellation (such as a pre-
21   formatted cancellation email for the consumer to return). See id. § 17602(c).
22
            25.      Shortly after the 12:18 p.m. email, Best Buy sent a second email at approximately
23
     12:27 p.m. PST on February 24, 2020. This email listed "Trend Micro Internet Security + Antivirus
24
     TTS" under a section entitled "Services & Digital Downloads," but made no mention of the "Best
25

26   Buy — Total Tech Support Monthly Membership" separately listed in the 12:18 p.m. email. Nothing

27   in this subsequent email sufficed to meet Best Buy's obligations under Bus.& PROF. CODE §§ 17601

28   and 17602 as described above. A copy of the 12:27 p.m. email is attached hereto as Exhibit 2.


     CLASS ACTION COMPLAINT
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 1                  B. Best Buy Bills Plaintiff Karim for "Trend Micro" and Mr. Karim attempts
                       to cancel.
2
            26.     Mr. Karim was never charged for "Best Buy — Total Tech Support Monthly
 3

4    Membership" despite the content of the 12:18 p.m. email, which was fine with Mr. Karim since he

5    never desired that service nor knowingly enrolled in it.
6           27.     However, without Mr. Karim's knowing consent and even though Best Buy never
 7
     complied with the legal disclosure requirements applicable to auto-renewing services, Best Buy
 8
     began charging a monthly fee of$2.99 to Mr. Karim's credit card beginning on May 26, 2020.
9
            28.     Later in 2020, Mr. Karim discovered that Best Buy had charged his credit card a
10

11   recurring monthly fee of $2.99. Surprised by the charge and wanting to avoid future charges for an

12   interne security protection plan that he did not use and did not want, Mr. Karim attempted to cancel

13   on bestbuy.com, but was not successful in terminating the automatic renewal of the Trend Micro
14   antivirus program exclusively online, as required by Bus.& PROF. CODE § 17602(c).
15
            29.     Best Buy continued to charge Mr. Karim's credit card a recurring fee of $2.99 on a
16
     monthly basis through July 25, 2021.
17
            30.     On or around July 25, 2021, Mr. Karim sought to cancel again. Because there was no
18

19   self-service method of cancellation available on Best Buy's website, Mr. Karim ultimately placed a

20   phone call to Best Buy's customer support. Best Buy then cancelled the recurring charge, but by

21   then had already charged Mr. Karim $44.85 for 15 months of an anti-virus program he never wanted
22
     or intended to use and, indeed, had never even downloaded.
23
            31.     At no point did Mr. Karim receive the clear and conspicuous disclosures from Best
24
     Buy required by law when a consumer is offered a product or service which will auto-renew in the
25
     future. Had Mr. Karim received those clear and conspicuous disclosures and been clearly asked for
26

27   his affirmative consent to be charged for an "intemet security" or anti-virus plan or service, he would

28   have refused to give such consent. Further, had Best Buy provided to Mr. Karim a clearly disclosed


     CLASS ACTION COMPLAINT                                                                      7
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 1   and easily accessible means for online cancellation of the plan or service which it was charging him
 2   for, Mr. Karim would have used that online procedure in late 2020 and would have avoided monthly
 3
     charges which Best Buy collected from him.
 4
             32.    Mr. Karim intends to purchase products and services in the future for himself and his
 5
     family from electronics retailers, including Best Buy, as long as he can gain some confidence in Best
 6

 7   Buy's representations about its services and automatic enrollment and renewal practices.

 8                                   CLASS ACTION ALLEGATIONS

 9           33.    As alleged throughout this Complaint, the Class claims all derive directly from a
10   single course of conduct by Best Buy. Best Buy has engaged in uniform and standardized conduct
11
     toward the Class—its autoenrollment and subscription billing tactics—and this case is about the
12
     responsibility of Best Buy, at law and in equity, for that conduct.
13
             34.    Plaintiff Karim sues on his own behalf and on behalf of a Class for damages and
14

15   injunctive relief under California Code of Civil Procedure § 382 and Civil Codes §1781.

16           35.    The Class is preliminarily defined as follows:

17                   All California consumers who have been charged by Best Buy for an
                     auto-renewing subscription for any product or service in connection
18
                     with a purchase made via the Best Buy website from July 11, 2018 to
19                   the date ofjudgment. The following entities and individuals are not
                     Class Members: (a) Best Buy and any and all of its predecessors,
20                   successors, assigns, parents, subsidiaries, affiliates, directors,
                     officers, employees, agents, representatives, and attorneys, and any
21                   and all ofthe parents', subsidiaries', and affiliates' present and former
                     predecessors, successors, assigns, directors, officers, employees,
22
                     agents, representatives, and attorneys; (b) any judicial officer
23                   presiding over the Action, or any member of his or her immediate
                     family or of his or her judicial staff.
24
             36.    Plaintiff does not know the exact size of the Class, since such information is in the
25
     exclusive control of Defendant. Plaintiff believes, however, that the Class encompasses at least
26

27   several thousand Class Members. Accordingly, the members of the Class are so numerous that

28   joinder of all such persons is impracticable.


     CLASS ACTION COMPLAINT                                                                      8
        Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 15 of 38




 1          37.     The Class is united by a community ofinterest and is ascertainable. It is ascertainable
 2
     because its members can be readily identified using data and information kept by Best Buy in the
 3
     Usual course of business and within its control.
 4
            38.     The Named Plaintiff is an adequate class representative. His claims are typical ofthe
 5
     claims ofthe Class and do not conflict with the interests of any other members ofthe Class. Plaintiff
 6

 7   and the other members of the Class were subject to the same or similar enrollment and billing

 8   practices engineered by Best Buy. Further,Plaintiffand members ofthe Class sustained substantially

 9   the same injuries arising out of Best Buy's conduct.
10
            39.     Plaintiff will fairly and adequately protect the interests of all Class members. Plaintiff
11
     has common interests with all members of the Class and will vigorously protect the interests of the
12
     Class through the qualified and experienced class action attorneys he has hired to represent his
13
     interests and those of the Class.
14

15          40.     Questions of law and fact are common to the Class and predominate over any

16   questions affecting only individual Class members,and a class action will generate common answers
17   to the questions below, which are apt to drive the resolution of this action:
18
                    a. Whether Best Buy's conduct violates the applicable California consumer
19                     protection statutes;

20                  b. Whether Class Members have been injured by Best Buy' conduct;

21                  c. Whether, and to what extent, equitable relief and/or other relief should be
                       imposed on Best Buy, and, if so, the nature of such relief.; and
22
                    d. The extent of class-wide injury and the measure of damages for those
23
                       injuries.
24
            41.     Given the common questions to be resolved, a class action is superior to all other
25
     available methods for resolving this controversy because i) the prosecution of separate actions by
26
     Class members will create a risk of adjudications with respect to individual Class members that will,
27

28   as a practical matter, be dispositive of the interests of the other Class members not parties to this


     CLASS ACTION COMPLAINT                                                                       9
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 1   action, or substantially impair or impede their ability to protect their interests; ii) the prosecution of
 2
     separate actions by Class members will create a risk of inconsistent or varying adjudications with
 3
     respect to individual Class members, which will establish incompatible standards for Best Buy's
 4
     conduct; iii) Best Buy has acted or refused to act on grounds generally applicable to all Class
 5
     members; and iv) questions of law and fact common to the Classes predominate over any questions
 6

 7   affecting only individual Class members.

 8          42.     Plaintiffs and the members ofthe class are entitled to an award of attorneys' fees and

9    costs against Best Buy.
10
             WHEREFORE, Plaintiffs, on behalf of themselves and all other similarly situated, pray for
11
     judgement as set forth below.
12
                                            CAUSES OF ACTION
13
                                                   COUNT 1
14

15                           CALIFORNIA AUTOMATIC RENEWAL LAW

16          43.     Plaintiff incorporates by reference all preceding and subsequent paragraphs.

17          44.     Plaintiff brings this claim on his own behalf and on behalf of each Class member.
18          45.     The California Automatic Renewal Law, Bus. & PROF. CODE §§ 17600 et seq.,
19
     became effective on December 1, 2010.
20
            46.     Bus. & PROF. CODE §§ 17600 et seq., declares unlawful "the practice of ongoing
21
     charging of consumer credit or debit cards or third-party payment accounts without the consumers'
22

23   explicit consent for ongoing shipments of a product or ongoing deliveries ofservice." To ensure that

24   result, the law requires certain clear disclosures be made to any consumer being offered a product or

25   service which will automatically renew at some point in the future. Best Buy's conduct as alleged
26                      -
     in this Complaint was unlawful because it failed to comply with the requirements of Bus. & PROF.
27
     CODE § 17602. Best Buy's failures to comply include at least the following independent violations:
28


     CLASS ACTION COMPLAINT                                                                         10
       Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 17 of 38




 1                a. Best Buy failed to present the terms of its automatic renewal or continuous service
                     offer in a clear and conspicuous manner before fulfilling the subscription and in visual
 2                   proximity to the request for consent to the offer, as required by Bus.& PROF. CODE §
 3                   17602(a)(1);

4                 b. Best Buy charged Plaintiff's and the Class's credit or debit cards, or the consumer's
                     account with a third party, for an automatic renewal or continuous service without
 5                   first obtaining the consumer's affirmative consent to the agreement containing the
                     automatic renewal offer terms or continuous offer terms, as required by Bus.& PROF.
 6
                     CODE § 17602(a)(2);
 7
                  c. Best Buy failed to provide an acknowledgment that includes the automatic renewal
 8                   offer terms or continuous offer terms, cancellation policy, and information regarding
                     how to cancel, and to allow Plaintiff and the Class to cancel the automatic renewal or
9                    continuous service before they paid for it, as required by Bus. & PROF. CODE §
                     17602(a)(3);
10

11                d. Best Buy failed to provide a toll-free telephone number, electronic mail address, a
                     postal address or another cost-effective, timely, and easy-to-use mechanism for
12                   cancellation described in Bus. & PROF. CODE § 17602(a)(3), as required by Bus. &
                     PROF. CODE § 17602(b);
13
                  e. Best Buy failed to allow Plaintiff and the Class to terminate the automatic renewal or
14
                     continuous service exclusively online, as required by Bus.& PROF. CODE § 17602(c).
15
            47.      Plaintiff and the Class are entitled to a declaration that Best Buy's conduct was and
16
     is unlawful in that it fails to comply with the requirements ofthe Automatic Renewal Law.
17

18                                                 COUNT 2

19     CALIFORNIA UNFAIR COMPETITION LAW—UNLAWFUL BUSINESS PRACTICES

20          48.      Plaintiff incorporates by reference all preceding and subsequent paragraphs.

21          49.      Plaintiff brings this claim on his own behalf and on behalf ofthe Class.
22
            50.       Bus. & PROF. CODE § 17200 et seq. (the "Unfair Competition Law" or "UCL")
23
     prohibits acts of"unfair competition," including any unlawful, fraudulent or unfair business acts or
24
     practices as well as any acts contrary to the requirements of Bus.& PROF. CODE § 17500.
25
            51.      Under the "unlawful" prong ofthe UCL,a violation of another law is treated as unfair
26

27   competition and is independently actionable.

28


     CLASS ACTION COMPLAINT                                                                        117—
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 1           52.     Best Buy committed unlawful business practices under the UCL because it imposed
 2    charges without complying with all applicable requirements ofBus.& PROF. CODE §§ 17600 et seq.,
 3
      as alleged above.
 4
             53.     As a result of Best Buy' unlawful and unfair business practices, Plaintiff suffered an
 5
      injury in fact and lost money or property.
 6

 7           54.     Pursuant to Bus.&PROF CODE §17203,Plaintiffand the Class are entitled to an order:

 8   (1) requiring Best Buy to make restitution to Plaintiff and the Class;(2) enjoining Best Buy from

 9    charging Plaintiff's and Class members' credit cards, debit cards, and/or third party payment
10
      accounts until such time as Best Buy obtains the consumer's affirmative consent to an agreement
11
      that contains clear and conspicuous disclosures of all automatic renewal or continuous service offer
12
     terms and meets all other legal requirements; and (3) enjoining Best Buy from making automatic
13
     renewal or continuous service offers in the State of California that do not comply with the California
14

15    Automatic Renewal Law.

16                                                 COUNT 3
17        CALIFORNIA UNFAIR COMPETITION LAW—UNFAIR BUSINESS PRACTICES
18
             55.     Plaintiff incorporates by reference all preceding and subsequent paragraphs.
19
             56.     Plaintiff brings this claim on his own behalf and on behalf of the Class.
20
             57.     Bus. & PROF. CODE § § 17209 et seq. (the "Unfair Competition Law" or "UCL")
21
     prohibits acts of"unfair competition," including any unlawful, fraudulent or unfair business acts or
22

23   practices as well as any acts contrary to the requirements of Bus.& PROF. Code § 17500.

24           58.     The courts have adopted differing tests for determining whether a business act or

25   practice is "unfair" under the UCL. Best Buy's practices as alleged above were and are "unfair" and
26
     therefore violative of the UCL, under any and all of these tests. Best Buy's practices have resulted
27
     in substantial injury to consumers that was not outweighed by any countervailing benefits to
28


     CLASS ACTION COMPLAINT                                                                      12
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 1    consumers or to competition and was not reasonably avoidable by the consumers themselves.
 2
      Alternatively, Best Buy's practices offended an established public policy and/or were immoral,
 3
      unethical, oppressive, unscrupulous or substantially injurious to consumers. Alternatively, Best
4
      Buy's practices were contrary to a public policy "tethered" to a specific constitutional, statutory or
 5
      regulatory provision.
6

 7           59.      As a result of Best Buy's unlawful and unfair business practices, Plaintiff suffered

 8    an injury in fact and lost money or property.

9            60.     Pursuant to Bus.&PROF CODE §17203,Plaintiffand the Class are entitled to an order:
10
     (1) requiring Best Buy to make restitution to Plaintiff and the Class;(2) enjoining Best Buy from
11
      charging Plaintiff's and Class members' credit cards, debit cards, and/or third party payment
12
      accounts until such time as Best Buy obtains the consumer's affirmative consent to an agreement
13
      that contains clear and conspicuous disclosures of all automatic renewal or continuous service offer
14

15    terms and meets all other legal requirements; and (3) enjoining Best Buy from making automatic

16    renewal or continuous service offers in the State of California that do not comply with California
17    Automatic Renewal Law.
18
                                                   COUNT 4
19
          CALIFORNIA UNFAIR COMPETITION LAW—FRAUDULENT PRACTICES AND
20                             FALSE ADVERTISING
21           61.     Plaintiff incorporates by reference all preceding and subsequent paragraphs.
22
             62.     Plaintiff brings this claim on his own behalf and on behalf of the Class.
23
             63.      Bus. & PROF. CODE § § 17200, et seq. (the "Unfair Competition Law" or "UCL")
24
      prohibits acts of"unfair competition," including any unlawful, fraudulent or unfair business acts or
25
      practices as well as any acts contrary to the requirements of Bus.& PROF. CODE § 17500.
26

27           64.     Best Buy's acts, omissions, nondisclosures, and misleading statements as alleged

28    herein were and are false, misleading, and/or likely to deceive the consuming public, and thus


      CLASS ACTION COMPLAINT                                                                      13
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 1   constituted fraudulent business practices in violation of the UCL. Moreover, those acts, omissions,
 2   nondisclosures, and misleading statements were contrary to the provisions of the False Advertising
 3
     Law,Bus.& PROF. CODE § 17500 and constitute violations of the UCL for that reason as well.
 4
             65.     As a result of Best Buy's unlawful and unfair business practices, Plaintiff suffered an
 5
     injury in fact and lost money or property.
 6

 7          66.     Pursuant to Bus. & PROF. CODE §17203, Plaintiff and the Class are entitled to an

 8   order:(1) requiring Best Buy to make restitution to Plaintiff and the Class;(2) enjoining Best Buy

 9   from charging Plaintiff's and Class members' credit cards, debit cards, and/or third party payment
10
     accounts until such time as Best Buy obtains the consumer's affirmative consent to an agreement
11
     that contains clear and conspicuous disclosures of all automatic renewal or continuous service offer
12
     terms and meets all other legal requirements; and (3) enjoining Best Buy from making automatic
13
     renewal or continuous service offers in the State of California that do not comply with California
14

15   Automatic Renewal Law.

16                                                 COUNT 5
17                      CALIFORNIA CONSUMERS LEGAL REMEDIES ACT
18
            67.     Plaintiff incorporates by reference all preceding and subsequent paragraphs.
19
            68.     Plaintiff brings this claim on his own behalf and on behalf of the Class.
20
            69.     The California Consumers Legal Remedies Act (the "CLRA"), CIV. CODE §
21
     1770(a)(14), prohibits certain specified unlawful acts and practices if utilized in connection with any
22

23   transaction involving the sale or lease of goods or services to a consumer.

24          70.      Best Buy violated Cry. CODE § 1770, subdivisions (a)(5),(a)(9),(a)(14) and (a)(16)

25   by, inter alia, representing that Best Buy's goods and services have certain characteristics that they
26
     do not have; advertising goods and services with the intent not to sell them as advertised; representing
27
     that a transaction confers or involves rights, remedies, or obligations that it does not have or involve,
28


     CLASS ACTION COMPLAINT                                                                        14    -
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 1   or that are prohibited by law; and representing that the subject of a transaction has been supplied in
 2
     accordance with a previous representation when it has not.
 3
             71.    Plaintiff and the Class members are "consumers" within the meaning of Crv. CODE §
 4
     1761(d) in that Plaintiff and the Class members were charged by Best Buy in connection with
 5
     transactions involving goods or services sought or acquired for personal, family, or household
 6

 7   purposes.

 8           72.     Best Buy's internet security protection plans and other auto-renewing subscriptions

 9   constitute "services" within the meaning ofCw.CODE § 1761(b).
10
             73.    Plaintiff has standing to pursue these claims because he suffered injury in fact and a
11
     loss of money and/or property as a result of the wrongful conduct alleged herein. Plaintiff neither
12
     intended to,nor knowingly did purchase any internet security protection services from Best Buy, nor
13
     did Plaintiff expect or intend to be charged for such a service on an "auto-renewing" basis. But for
14

15   Best Buy's wrongful practices, Plaintiff would not have been charged for such a service. Yet he was

16   charged, and paid, for that service.
17          74.     The charges imposed by Best Buy, purportedly in exchange for auto-renewing
18
     subscriptions, to Plaintiff and Class Members are "transactions" within the meaning ofCIV. CODE §
19
     1761(e).
20
            75.     As a direct and proximate result of result of Best Buy's violations of the CLRA,
21

22   Plaintiff and the Class were wrongfully charged fees for Best Buy's auto-renewing subscriptions.

23          76.     Accordingly,Plaintiffand the Class Members seek an injunction prohibiting Best Buy

24   from engaging in the unlawful practices alleged herein. If Best Buy fails to rectify or agree to rectify
25   the unlawful acts detailed above and give notice to all affected consumers within 30 days of written
26
     notice pursuant to § 1782 of the CLRA, Plaintiff will amend this Complaint to add claims for
27

28


     CLASS ACTION COMPLAINT                                                                        15
         Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 22 of 38




  1    compensatory damages, and restitution of any ill-gotten gains due to Best Buy's acts and practices,
 2
       as well as any other remedies the Court may deem appropriate.
 3
                                            PRAYER FOR RELIEF
 4
              WHEREFORE,Plaintiff respectfully requests that the Court:
 5

 6           (a)      Issue an order certifying the Class defined above, appointing Plaintiffas Class
                      representative, and designating Bramson,Plutzik, Mahler & Birkhaeuser,LLP
 7
                      and Wittels McInturff Palikovic as Class Counsel;
 8
             (b)      Find that Best Buy has committed the violations of law alleged herein;
 9
             (c)      Enter an appropriate order awarding restitution and monetary damages to the
 10                   Class;

 11          (d)      Enter an order granting appropriate injunctive relief on behalf of the Class;
 12          (e)      Award pre-judgment interest, costs, reasonable attorneys' fees and
                      expenses; and
 13

 14   (f) Grant all such other relief as the Court deems appropriate.

 15

 16    Dated: July 11,2022
                                                    BRAMSON,PLUTZIK,MAHLER &
 17
                                                    BIRKHAEUSER,LLP
 18

 19

(20

21                                                          Alan R. Plutzik
22
                                                    Alan R. Plutzik(Bar No. 77785)
23                                                  aplutzik@bramsonplutzik.com
                                                    Robert M. Bramson (Bar No. 102006)
24                                                  rbramson@bramsonplutzik.com
                                                    Daniel E. Birkhaeuser(Bar No. 136646)
25                                                  dbirkhaeuser bramsonplutzik.com
                                                    2125 Oak Grove Road, Suite 125
26
                                                    Walnut Creek, California 94598
27                                                  Telephone:(925)945-0200
                                                    Facsimile:(925)945-8792
28


      CLASS ACTION COMPLAINT                                                                      16
       Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 23 of 38




 1                                      WITTELS MCINTURFF PALIKOVIC
 2                                      By:   /s/ J. Burkett McInturff
                                              J. Burkett McInturff*
 3
                                              jbmAwittelslaw.com
4                                             Jessica L. Hunter*
                                              jlh@wittelslaw.com
 5                                             18 Half Mile Road
                                              Armonk, New York 10504
6                                             Telephone:(914)319-9945
                                              Facsimile:(914)273-2563
 7

 8                                            Counselfor Plaintiff

9                                              * Motion for pro hac vice admission
                                              forthcoming
10

11

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     CLASS ACTION COMPLAINT                                               17   = -
                       Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 24 of 38
ATTORNEY OR PARTY WITHOUT ATTORNEY /Nam. Slate Bar number, and dr:dross):
                                                                                                                                FOR COURT USE ONLY
Alan R. Plutzik(SBN: 77785)
Bramson, Plutzik, Mahler & Birkhaeuse, r2125 Oak Grove Rd., #125, Walnut Creek, CA
         TetEPHoNE No.:925-945-0200            FAX NO.(Optional):
        E•MAIL Aooxes&aplutzik@bramsonplutzik.com
                                                                                                                     ELECTRONICALLY FILED
  ATTORNEY FOR(Nima):Plaintiff Alee Karim                                                                            Superior Court of California,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
 STREET ADDRESS:1225 Fallon Street
                                                                                                                         County of Alameda
 MAILING ADDRESS
crry ANJ ZIP cope:Oakland, CA 94612
                                                                                                                     0712/2022 at 11:25:16 AM
    BRANCH NAME:
                                                                                                                                 By: Man•xii Bowie,
                                                                                                                                   Deputy Clerk
CASE NAME:
ALEE KARIM V. BEST BUY CO.. INC.
      CIVIL CASE COVER SHEET                    Complex Case Designation             CASE NUMBER
       Unlimited        FT Limited                  Counter               Joinder           22CV014203
      (Amount             (Amount
                                            Filed with first appearance by defendant JUDGE:
       demanded            demanded is
                                                (Cal. Rules of Court, rule 3.402)     DEPT
       exceeds $25,000)    $25,000 or less)
                             Items 1-5 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
    Auto Tort                                        Contract                                                Provisionally Complex Civil Litigation
          Auto (22)                                         Breach of contract/warranty (06)                (Cal. Rules of Court, rules 3.400-3.403)
          Uninsured motorist(46)                          i Rule 3.740 collections (09)
                                                                                                            L I Antitrust/Trade regulation (03)
    Other PI/PD/WD (Personal Injury/Property                Other collections(09)                           F-L-3 Construction defect(10)
    Damage/Wrongful Death)Tort                              Insurance coverage (18)                                Mass tort(40)
    —1 Asbestos(04)                                         Other contract(37)                                     Securities litigation (28)
    —1 Product liability(24)                                                                                       Environmental/Toxic tort(30)
                                                      Real Property
   1---7 M• edical malpractice (46)                                                                                Insurance coverage claims arising from the
                                                            Ennent domain/Inverse
          Other PI/PD/WD (23)                                                                                      above listed provisionally complex case
                                                            condemnation (14)
                                                                                                                   types(41)
    Non-PI/PD/WD (Other) Tort                               Wrongful eviction (33)                           Enforcement of Judgment
    —711 Business tort/unfair business practice (07) f      Other  real property (26)                              Enforcement of judgment(20)
   1---1 Civil rights (08)                            Unlawful Detainer                                      Miscellaneous Civil Complaint
          D• efamation (13)                                 Commercial(31)
                                                                                                                   RICO (27)
   I I Fraud (16)                                    E  i   Residential  (32)
                                                                                                            E—J Other complaint (not specified above)(42)
          Intellectual property (19)                        Drugs  (38)
                                                                                                             Miscellaneous Civil Petition
                                                     Judicial Review
   El Professional negligence(25)                                                                           El Partnership and corporate governance (21)
          Other non-Pl/PD/WD tort (35)                      Asset forfeiture (05)
                                                            Petition re: arbitration award (11)                     Other petition (not specified above)(43)
    Employment
          W• rongful termination (36)                I    j Writ of mandate   (02)
    —1 Other employment(16)                                r i
                                                            Other  judicial review (39)
2. This case Fin is                     E-1 is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management:
     a.             Large number of separately represented parties          d. • Large number of witnesses
     b. nrs         Extensive motion practice raising difficult or novel e. 1-1 Coordination with related actions pending in one or more
                    issues that will be time-consuming to resolve                     courts in other counties, states, or countries, or in a federal
     c. j —  ssi Substantial amount of documentary evidence                           court
                                                                                      Substantial postjudgment judicial supervision
3. Remedies sought(check all that apply):a. si monetary b. 1t nonmonetary: declaratory or injunctive relief c.                                            punitive
4. Number of causes of action (specify): 5
5. This case x j is                     I—I is not    a class action suit.
6. If there are any known related cases, file and serve a notice of related case.(Yo                   use form CM-015.)
Date: July 11,2022
Alan R. Pllutzik
                                 (TYPE OR PRINT NAME)                                            ( GNATUFE QF PARTY OR ATTORNEY FOR PARTY)
                                                                           NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                                                                                                                                             to file may result
     under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure
     in  sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
                                                                                                          serve a copy of this cover sheet on all
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must
     other parties to the action or proceeding.
                                                                                                     will be used for statistical purposes only.
 l• Unless this is a collections case under rule 3.740 or a complex case, this cover sheet                                                               Page', of 2
                                             —-                    —
.       =                   =                                                                                Cal Rules of Court, rules 2.30. 3220. 3.400-3,403.
 porn- Adopted tor 1.4anuatnty Use                            CIVIL CASE COVER SHEET                                Cal. Standards 01 Judicial AdmInistalt.on, sill 3.10
   Judicial COilited of California
                       Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page                25 IofIWNIVALL
                                                                                           CLCV        38        T riLcu
                                                    Unified Rules of the Superior Court of C ifornio, Cqi.niy fA e    .
     F. ADDENDUM TO CIVIL CASE COVER SHEET
Short Title:   Alee Karim v. Best Buy Co., Inc.
                                                                                                          Case NumMunty of Alameda
                                                     CIVIL CASE COVER SHEET ADDENDUM                          07/12/2022 at 11:25:16 AM
                               THIS FORM IS REQUIRED IN ALL NEW UNLIMITED CIVIL CASE FILINGS IN THE                   By:)0an-xii time,
                                             SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA                            Deputy Clerk
                                                                             [ ] Hayward Hall of Justice (447)
[ xx ] Oakland, Rene C. Davidson Alameda County Courthouse (446)             [ ] Pleasanton, Gale-Schenone Hall of Justice (448)
Civil Case Cover
Sheet Category         Civil Case Cover Sheet Case Type       Alameda County Case Type (check only one)
Auto Tort              Auto tort(22)                          []       34    Auto tort(G)
                                                              Is this an uninsured motorist case? [ ]yes [ ]no
Other PI /PD /         Asbestos(04)                           []     75   Asbestos(0)
WD Tort                Product liability (24)                 []     89    Product liability (not asbestos or toxic tort/environmental)(G)
                       Medical malpractice (45)               [ ]    97    Medical malpractice (G)
                       Other PI/PDNVD tort(23)                [ j    33    Other PI/PD/ND tort(G)

Non - PI /PD /         Bus tort / unfair bus. practice (07)   [ XX ] 79    Bus tort / unfair bus. practice (G)
WD Tort                Civil rights (08)                      [ ]    80    Civil rights(G)
                       Defamation (13)                        [ ]    84    Defamation (G)
                       Fraud (16)                             [ ]    24    Fraud (G)
                       Intellectual property (19)             [ ]    87    Intellectual property(G)
                       Professional negligence (25)           [ ]    59    Professional negligence - non-medical(G)
                       Other non-PI/1'0/WD tort(35)           []     03    Other non-PUPD/WD tort(G)
Employment             Wrongful termination (36)              []     38    Wrongful termination (G)
                       Other employment(15)                   []     85    Other employment(G)
                                                              [ ]    53    Labor comm award confirmation
                                                              []     54    Notice of appeal - L.C.A.
Contract               Breach contract / Wrnty (06)           []     04    Breach contract / Wrnty(G)
                       Collections (09)                       [ ]    81    Collections(G)
                       Insurance coverage (18)                []     86    Ins. coverage - non-complex (G)
                       Other contract(37)                     [ 1    98    Other contract(G)
Real Property          Eminent domain / Inv Cdm (14)          [ ]    18    Eminent domain / Inv Cdm (G)
                       Wrongful eviction (33)                 [ ]    17    Wrongful eviction (G)
                       Other real property (26)               [ 1    36    Other real property (G)
Unlawful Detainer      Commercial (31)                        []     94    Unlawful Detainer - commercial           Is the deft. in possession
                       Residential (32)                       [ ]    47    Unlawful Detainer - residential         of the property?
                       Drugs(38)                              []     21    Unlawful detainer - drugs              [ 1 Yes [ I No
Judicial Review        Asset forfeiture (05)                  [ ]    41    Asset forfeiture
                       Petition re: arbitration award (11)    [ ]    62    Pet. re: arbitration award
                       Writ of Mandate (02)                   [)        49 Writ of mandate
                                                              Is this a CEQA action (Publ.Res.Code section 21000 et seq)[ ]Yes [ ]No
                       Other judicial review (39)             []       64 Other judicial review
Provisionally          Antitrust / Trade regulation (03)      []     77    Antitrust / Trade regulation
Complex                Construction defect (10)               [ ]    82    Construction defect
                       Claims involving mass tort (40)        []     78    Claims involving mass tort
                       Securities litigation (28)             [ ]    91    Securities litigation
                       Toxic tort / Environmental (30)        []     93    Toxic tort / Environmental
                       Ins covrg from cmplx case type (41)    []     95    Ins covrg from complex case type
Enforcement of         Enforcement of judgment(20)            [ ]    19    Enforcement of judgment
Judgment                                                      [ 1    08    Confession ofjudgment
Misc Complaint         RICO (27)                              [] .   90    RICO(G)
                       Partnership / Corp. governance (21)    [ ]    88    Partnership / Corp. governance(G)
                       Other complaint(42)                    []     68    All other complaints(G)
Misc. Civil Petition   Other petition (43)                    [ ]    06    Change of name
                                                              [ 1    69    Other petition
       202-19 (5/1/00)                                                                                                                  A-13
                       Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 26 of 38
                                                                                                     Reserved for Cleft's File Stamp
               SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF ALAMEDA                                                                          FILED
                                                                                                   Superior Court of California
  COURTHOUSE ADDRESS:
                                                                                                      County of Alameda
  Rene C. Davidson Courthouse
  Administration Building, 1221 Oak Street, Oakland, CA 94612                                             07/1 2/2022
  PLAINTIFF:                                                                                Clad Flute, Elm tin Once r /CO ric ofte Coill
  Alee Karim                                                                                                     =4Eg.--i'             Deputy
                                                                                                Ely(
  DEFENDANT:
  Best Buy Co., Inc.                                                                                          X. Bcwie
                                                                                            CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                             22CV014203

 TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

 You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
 the filing of the complaint (Cal. Rules of Court, 3.110(b)).

 Give notice of this conference to all other parties and file proof of service.

 Your Case Management Conference has been scheduled on:


                                  Date:   11/09/2022         Time:   8:30 AM      Dept.:   23
                                  Location:   Rene C. Davidson Courthouse
                                              Administration Building, 1221 Oak Street, Oakland, CA 94612

 TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD:

 The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
 required by law, you must respond as stated on the summons.

 TO ALL PARTIES who have appeared before the date of the conference must:

Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
 Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
Post jury fees as required by Code of Civil Procedure section 631.

If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings or dismissal of the
action.

The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.qov.




Form Approved for Mandatory Use
Superior Court of California,               NOTICE OF
County of Alameda
                                  CASE MANAGEMENT CONFERENCE
ALA CIV-100 [Rev. 10/2021]
             Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 27 of 38

                                                                                    Reserved for Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:                                                                           FILED
                                                                                   Superior Court of California
Rene C. Davidson Courthouse                                                           County of Alameda
1225 Fallon Street, Oakland, CA 94612
                                                                                           0711212022
PLAINTIFF/PETITIONER:                                                       Clad FIthe ,Bent tie Mite r /Cleric °it e Co irl
Alee Karim                                                                    By 41-"><.            4#5,
                                                                                                       -4. Deputy
DEFENDANT/RESPONDENT:                                                                         X. Beenie

Best Buy Co., Inc.
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              22CV014203

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Oakland, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




   Alan Plutzik
   Bramson Plutzik Mahler & Birkhaeuser
   2125 Oak Grove Road Suite 125
   Walnut Creek, CA 94598




                                                   Chad Finke, Executive Officer / Clerk of the Court
Dated: 07/14/2022                                   By:



                                                                 X. Bcavie, Deputy Clerk




                                -   CERTIFICATE OF MAILING
       Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 28 of 38




 1   BRANNON,PLUTZIK,MAHLER & BIRKHAEUSER,LLP
     Alan R. Plutzik (State Bar No. 77785)
 2   aplutzik@bramsonplutzik.corn
 3   2125 Oak Grove Road, Suite 125                          ELECTRONICALLY FILED
     Walnut Creek, California 94598
4    Telephone:(925)945-0200                                 Superior Court of California,
     Facsimile:(925)945-8792                                     County of Alameda
 5
     WITTELS MCINTURFF PALIKOVIC
                                                             01112/2022 at 11:25:16 AM
6                                                                   By: Aan-xii Bowie,
     J. Burkett McInturfP                                             Deputy Clerk
7    jbm0,wittelslaw.com
      18 Half Mile Road
 8   Armonk,New York 10504
     Telephone:(914)319-9945
 9   Facsimile:(914)273-2563
10
     * Motionfor pro hac vice admissionforthcoming
11

12

13
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
14
                                       COUNTY OF ALAMEDA
15

16                                                   Case No. 22CV014203
     ALEE KARIM,on behalf of himself and all
     others similarly situated,
17
                                                      DECLARATION OF VENUE
18
                                 Plaintiff,
19
                            V.
20
     BEST BUY CO.,INC.,
21

22                               Defendant.

23

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       Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 29 of 38




 1                               DECLARATION REGARDING VENUE

 2
            I,Alan R. Plutzik, declare:
 3
             1.     I am counsel for the plaintiff in this action. I submit this Declaration pursuant to
 4
     Civil Code § 1780(c).
 5
            2.      This action is being filed in a county described in §1780(c) as a proper place for the
6
     trial of this action as alleged in the Complaint.
 7
            3.      On information and belief, Defendant Best Buy Co., Inc. is currently doing business
 8
     in Alameda County.
 9          4.    The Plaintiff in this action resides in Alameda County. Plaintiff logged on to Best
10   Buy Co., Inc.'s website, bestbuy.com, from Alameda County in February 2020 to purchase a
11
     television set from Defendant. That television purchase allegedly led to the imposition of
12
     automatically recurring charges imposed upon Plaintiff by Defendant — charges which underlie the
13
     claims asserted in the complaint.
14

15          I declare under penalty of perjury that the foregoing is true and correct, and that this

16   Declaration was executed at Walnut Creek, California this 11th day of July 2022.

17

18

19
                                                                        ,
                                                                        4
20
                                                                                  Alan R. Plutzik
21

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     DECLARATION OF VENUE
         Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 30 of 38




                Superior Court of California, County of Alameda
              Alternative Dispute Resolution(ADR)Information Packet

The person who files a civil lawsuit (plaintiff) must include the ADR Information Packet with the
complaint when serving the defendant. Cross complainants must serve the ADR Information Packet
on any new parties named to the action.


      The Court strongly encourages the parties to use some form of ADR before proceeding to
      trial. You may choose ADR by:

         • Indicating your preference on Case Management Form CM-110;

         • Filing the Stipulation to ADR and Delay Initial Case Management Conference for 90
           Days(a local form included with the information packet); or

         • Agreeing to ADR at your Initial Case Management Conference.

    QUESTIONS? Call(510)891-6055. Email: adrprogram@alameda.courts.ca.gov
    Or visit the court's website at http://www.alameda.courts.ca.govidivisions/civil/adr

                                  What Are the Advantages of Using ADR?
• Faster —Litigation can take years to complete but ADR usually takes weeks or months.
• Cheaper — Parties can save on attorneys' fees and litigation costs.
• More control andflexibility — Parties choose the ADR process appropriate for their case.
• Cooperative and less stressful — In mediation, parties cooperate to find a mutually agreeable resolution.
• Preserve Relationships — A mediator can help you effectively communicate your interests and point of
     view to the other side. This is an important benefit when you want to preserve a relationship.


                                  What Is the Disadvantage of Using ADR?
•    You may go to court anyway — If you cannot resolve your dispute using ADR, you may still have to
     spend time and money resolving your lawsuit through the courts.

                                     What ADR Options Are Available?
• Mediation — A neutral person (mediator) helps the parties communicate, clarify facts, identify legal
  issues, explore settlement options, and agree on a solution that is acceptable to all sides.

     o   Court Mediation Program: Mediators do not charge fees for the first two hours of mediation. If
           parties need more time, they must pay the mediator's regular fees.



ADR Info Sheet Rev. 05/23/22                                                                      Page 1 of2
        Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 31 of 38


         Some mediators ask for a deposit before mediation starts which is subject to a refund for unused
         time.

    o    Private Mediation: This is mediation where the parties pay the mediator's regular fees and may
          choose a mediator outside the court's panel.

• Arbitration — A neutral person (arbitrator) hears arguments and evidence from each side and then decides
  the outcome ofthe dispute. Arbitration is less formal than a trial and the rules of evidence are often
  relaxed. Arbitration is effective when the parties want someone other than themselves to decide the
  outcome.

    o    Judicial Arbitration Program (non-binding): The judge can refer a case, or the parties can agree to
         use judicial arbitration. The parties select an arbitrator from a list provided by the court. If the parties
         cannot agree on an arbitrator, one will be assigned by the court. There is no fee for the arbitrator. The
         arbitrator must send the decision (award ofthe arbitrator) to the court. The parties have the right to
         reject the award and proceed to trial.

    o    Private Arbitration (binding and non-binding) occurs when parties involved in a dispute either
         agree or are contractually obligated. This option takes place outside of the courts and is normally
         binding meaning the arbitrator's decision is final.

                               Mediation Service Programs in Alameda County
Low-cost mediation services are available through non-profit community organizations. Trained volunteer
mediators provide these services. Contact the following organizations for more information:


SEEDS Community Resolution Center
2530 San Pablo Avenue, Suite A,Berkeley, CA 94702-1612
Telephone:(510)548-2377 Website: www.seedscrc.org
Their mission is to provide mediation, facilitation, training and education programs in our
diverse communities — Services that Encourage Effective Dialogue and Solution-making.


Center for Community Dispute Settlement
291 McLeod Street, Livermore, CA 94550
Telephones:(925)337-7175 J (925)337-2915 (Spanish)
Website: www.trivalleymediation.com
CCDS provides services in the Tr -Valley area for all of Alameda County.


For Victim/Offender Restorative Justice Services
Catholic Charities of the East Bay: Oakland
433 Jefferson Street, Oakland, CA 94607 Telephone:(510)768-3100 Website: www.cceb.org Mediation
sessions involve the youth, victim, and family members work toward a mutually agreeable restitution
agreement.




ADR Info Sheet Rev. 05/23/22                                                                          Page 2 of2
                        Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 32 of 38
                                                                                                                                      ALA ADR-001
ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and address)                                                 FOR COURT USE ONLY




                    TELEPHONE NO.:                            FAX NO.(Optional):
           E-MAIL ADDRESS (Optional):
              ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, ALAMEDA COUNTY
                  STREET ADDRESS:
                  MAILING ADDRESS:
                 CITY AND ZIP CODE:
                      BRANCH NAME

 PLAINTIFF/PETITIONER:
DEFENDANT/RESPONDENT:
                                                                                                         CASE NUMBER:

STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)
AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS


               INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.

      This stipulation is effective when:
      •     All parties have signed and filed this stipulation with the Case Management Conference Statement at least 15 days before the
            initial case management conference.
      •     A copy of this stipulation has been received by the ADR Program Administrator, 24405 Amador Street, Hayward, CA 94544 or
            Fax to (510)267-5727.

•1.   Date complaint filed:                                     . An Initial Case Management Conference is scheduled for:

      Date:                                          Time:                                    Department:

2.    Counsel and all parties certify they have met and conferred and have selected the following ADR process (check one):

      O Court mediation                     0 Judicial arbitration
      O Private mediation                   El   Private arbitration

3.    All parties agree to complete ADR within 90 days and certify that:
      a. No party to the case has requested a complex civil litigation determination hearing;
      b. All parties have been served and intend to submit to the jurisdiction of the court;
      c. All parties have agreed to a specific plan for sufficient discovery to make the ADR process meaningful;
      d. Copies of this stipulation and self-addressed stamped envelopes are provided for returning endorsed filed stamped copies to
         counsel and all parties;
      e. Case management statements are submitted with this stipulation;
      f. All parties will attend ADR conferences; and,
      g. The court will not allow more than 90 days to complete ADR.

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date:



                 (TYPE OR PRINT NAME)                                         (SIGNATURE OF PLAINTIFF)



Date:




                                                                                                                                                  Page 1 of 2
 Form Approved for Mandatory Use
                                        STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)                                    Cal. Rules of Court,
    Superior Court of California,
                                                                                                                                      rule 3.221(a)(4)
        County of Alameda
ALA ADR-001 [New January 1,2010]
                                        AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS
                       Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 33 of 38
                (TYPE OR PRINT NAME)                       (SIGNATURE OF ATTORNEY FOR PLAINTIFF)

                                                                                                                   ALA ADR-001
                                                                                                   CASE NUMBER.:
PLAINTIFF/PETITIONER:

DEFENDANT/RESPONDENT:



- Date:




                (TYPE OR PRINT NAME)                             (SIGNATURE OF DEFENDANT)



Date:




                (TYPE OR PRINT NAME)                             (SIGNATURE OF ATTORNEY FOR DEFENDANT)




                                                                                                                           Page 2 of 2
 Form Approved for Mandatory Use
    Superior Court of Califomla,   STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)                  Cal. Rules of Court,
                                                                                                               rule 3.221(a)(4)
        County of Alameda
ALA ADR-001 (New January 1.2010)
                                   AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS
                                     Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 34 of 38
                                                                                                                                                        POS-010
     ATTORNEY OR PARTY IN              I   TH OUT   ATTORNEY /Name, State Bsr number, end address)                            FOR COURT USE ONLY
          Alan Plutzik, 077785
          Bramson Plutzik Mahler 8 Birkhaeuser
          2125 Oak Grove Road, Suite 125
          Walnut Creek, CA 94598
               TCLEPHoNE Non (925) 945-0200
          ATroRNEY FoR /Name). Plaintiff

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF
     Superior Court of California, Alameda Countv
     1225 Fallon Street, ¹109
     Oakland, CA 94612-4293
                  PLAINTIFF/PETITIQNER:                ALEE KARIM, et al.                                     CASE NUMBER.

                                                                                                             22CV014203
 DEFENDANT/RESPONDENT:                                 BEST BUY CO, INC
                                                                                                             Ref No. or File No:
                                               PROOF OF SERVICE OF SUMMONS                                    Karim
 1. At             the time of service was a citizen of the United States, at least 18 years of age and not a party to this action.
                                                I


2.        I       served copies of:
 Complaint, Civil Case Cover Sheet, Civil Case Cover Sheet - Addendum, Notice of Case Management Conference, Summons,
 Declaration of Venue, Alternative Dispute Resolution Package


3. a. Party              served: Best Buy Co., Inc.
          b Person Served CT Corp - Serai Marin, Process Specialist - Person Authorized to Accept Service of Process

4. Address where the party was served. 330                                 North Brand Blvd, ¹700
5.  served the party
      I
                                                                       Glendale, CA 91203
    a by personal service. personally delivered the documents listed in item 2 to the party or person authorized to
                                                       I


       receive service of process for the party (1) on (date): 07/29/2022             (2) at (time): 12 43PM
6. The "Notice to the Person Served" (on the summons) was completed as follows:




                  d. on behalf of:

           Best Buy Co., Inc.
           under: CCP 416.10 (corporation)
7.        Person who served papers
          a. Name:                          Devon Fitznerald
          b. Address:                       One Legal - P-000618-Sonoma
                                            1400 North McDowell Blvd, Ste 300
                                            Petaluma, CA 94954
     c. Telephone number: 415-491-0606
     d. The fee for service was: $ 40.00
     e am:    I

                   (3) renistered California process server.
               Employee or independent contractor.
                         (i)
               Registration Noz 2022016931
                         (ii)
              County: Los Angeles
                         (iii)
8. declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
      I


Date: 07/29/2022



                                 Devon Fjtzqerald
                                 (NAME OF PERSON WHO SERVED PAPERS)                                                 (SIGNATURE)
  Form Adopted for Mandatory Use                                                                                                      Code of Civil Procedure,   !I   4 f 7 10
Judoist Counol of Caltornia POS-D10
        IRev Jan 1,2007)                                                      PROOF OF SERVICE OF SUMMONS
                                                                                                                          OL¹ 18636668
        Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 35 of 38

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                      Rene C. Davidson Courthouse


Alee Karim                                         No.      22CV014203
                Plaintiff/Petitioner(s)
               vs.                                 Date:    08/12/2022
Best Buy Co., Inc.                                 Time:    9:30 AM
                Defendant/Respondent(s)
                                                   Dept:    23
                                                   Judge:   Brad Seligman

                                                     ORDER re: Complex Determination
                                                                Hearing



The Complex Determination Hearing scheduled for 08/12/2022 is continued to 10/11/2022 at
3:00 PM in Department 23 at Rene C. Davidson Courthouse.

The Court orders counsel to obtain a copy of this order from the eCourt portal.



Dated: 08/12/2022




ORDER re: Complex Determination Hearing                                           Page 1 of 1
        Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 36 of 38

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                      Rene C. Davidson Courthouse, Department 23
               JUDICIAL OFFICER: HONORABLE BRAD SELIGMAN

Courtroom Clerk: Christopher Wright                                                   CSR: None


22CV014203                                                                        August 12, 2022
                                                                                         9:30 AM
KARIM
 vs
BEST BUY CO., INC.



                                           MINUTES
APPEARANCES:

No Appearances

NATURE OF PROCEEDINGS: Complex Determination Hearing

The Complex Determination Hearing scheduled for 08/12/2022 is continued to 10/11/2022 at
3:00 PM in Department 23 at Rene C. Davidson Courthouse.

The Court orders counsel to obtain a copy of this order from the eCourt portal.




                                                          By:
                                                                              Minutes of: 08/12/2022
                                                                              Entered on: 08/12/2022
                    Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 37 of 38
                                                                                                      Reserved for Clerk’s File Stamp
               SUPERIOR COURT OF CALIFORNIA
                   COUNTY OF ALAMEDA
  COURTHOUSE ADDRESS:
 Rene C. Davidson Courthouse
 Administration Building, 1221 Oak Street, Oakland, CA 94612
  PLAINTIFF:
 Alee Karim
  DEFENDANT:
 Best Buy Co., Inc.
                                                                                               CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                            22CV014203

TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
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Give notice of this conference to all other parties and file proof of service.

Your Case Management Conference has been scheduled on:


                                  Date:   11/09/2022         Time:   8:30 AM     Dept.:   23
                                  Location:   Rene C. Davidson Courthouse
                                              Administration Building, 1221 Oak Street, Oakland, CA 94612

TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD:

The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
required by law, you must respond as stated on the summons.

TO ALL PARTIES who have appeared before the date of the conference must:

Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
Post jury fees as required by Code of Civil Procedure section 631.

If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
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action.

The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.gov.




Form Approved for Mandatory Use
Superior Court of California,               NOTICE OF
County of Alameda
                                  CASE MANAGEMENT CONFERENCE
ALA CIV-100 [Rev. 10/2021]
             Case 4:22-cv-04909-JST Document 1-1 Filed 08/26/22 Page 38 of 38
                                                                               Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:
Rene C. Davidson Courthouse
1225 Fallon Street, Oakland, CA 94612
PLAINTIFF/PETITIONER:
Alee Karim
DEFENDANT/RESPONDENT:
Best Buy Co., Inc.
                                                                         CASE NUMBER:
                        CERTIFICATE OF MAILING                           22CV014203

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Oakland, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




    Alan Plutzik
    Bramson Plutzik Mahler & Birkhaeuser
    2125 Oak Grove Road Suite 125
    Walnut Creek, CA 94598




                                                   Chad Finke, Executive Officer / Clerk of the Court
Dated: 07/14/2022                                   By:




                                     CERTIFICATE OF MAILING
